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 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
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 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE: (916) 649-2006
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 5   ATTORNEY FOR DEFENDANT
     RAYMOND EUGENE SILLS
 6
 7                  IN THE UNITED STATES DISTRICT COURT FOR THE
 8                       EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,       )                 CR.NO.S-08-00518-LKK
10                                   )
          PLAINTIFF,                )                  STIPULATION AND
11                                   )                 ORDER TO CONTINUE THE
          v.                         )                 JUDGMENT AND SENTENCING TO
12                                   )                 TUESDAY, JANUARY 26, 2010
     JESS BRASIER, et al.,           )
13                                   )
                                     )
14        DEFENDANTS.                )
     ______________________________)
15
16         The parties to this litigation, the Unites States of America, represented by
17   Assistant United States Attorney, Mr. Michael M. Beckwith and defendant Raymond
18   Eugene Sills, represented by attorney, Mr. James R. Greiner, hereby agree and
19   stipulate that the current date for Judgment and Sentencing currently set for, Tuesday,
20   January 5, 2010, can be vacated and can be rescheduled for Tuesday, January 26,
21   2010, at 9:15 a.m. in Courtroom # 4 before the Honorable Senior District Court Judge,
22   Lawrence K. Karlton.
23         The Court’s Courtroom Deputy, Ms. Monica Narcisse, was contacted to check
24   to see if the Court is available that date, and the Court is.
25         Probation was contacted, Ms. Linda Alger, and there was no objection to the
26   continuance.
27         The parties further agree and stipulate to the adjustment in the following dates:
28                                                 1
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 1        Informal Objections on or before                   January 5, 2010
 2        Final Probation Report on or before                January 12, 2010
 3        Formal Objections on or before                     January 19, 2010
 4        Judgment and Sentencing                            January 26, 2010
 5
 6        It is so agreed and stipulated to.
 7
 8        Respectfully submitted:
 9                                   BENJAMIN B. WAGNER
                                     UNITED STATES ATTORNEY
10
                                     /s/ Michael M. Beck telephone authorization
11
     DATED: 12-9-09                  _____________________________________
12                                   Michael M. Beckwith
                                     ASSISTANT UNITED STATES ATTORNEY
13                                   ATTORNEY FOR THE PLAINTIFF
14
     DATED: 12-9-09                  /s/ James R. Greiner
15                                   ___________________________________
                                     James R. Greiner
16                                   Attorney for Defendant Raymond Eugene Sills
17
18                                             ORDER
19
20        FOR GOOD CAUSE SHOW, IT IS SO ORDERED.
21
     DATED: December 9, 2009
22
23
24
25
26
27
28                                               2
